           Case 1:21-cv-00796-RP Document 34 Filed 09/27/21 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

____________________________________
                                    §
UNITED STATES OF AMERICA,           §
                                    §
                  Plaintiff,        §
v.                                  §
                                    §                  Civil No. 1:21-cv-796-RP
THE STATE OF TEXAS,                 §
                                    §
                  Defendant.        §

                       STIPULATION FOR REMOTE DEPOSITIONS

       Plaintiff, the United States of America, and Defendant, the State of Texas (collectively “the

Parties”) hereby stipulate pursuant to Rule 30(b)(4) of the Federal Rules of Civil Procedure that all

depositions in the above-captioned matter that are to be taken by remote means shall comply with the

following agreed upon protocol:

            1. The deposition will be taken via the Zoom platform, which Defendant shall schedule

and circulate to Plaintiff’s counsel twenty-four hours before the scheduled deposition. The link man

not be forwarded to any individuals other than those identified pursuant to para 2, infra.

            2. The Parties shall exchange electronically by C.O.B Monday, September 27, 2021, their

respective party representatives who will remotely attend the depositions scheduled for Tuesday,

September 28, 2021 and by C.O.B. Tuesday, September 28, 2021, the party representatives who will

remotely attend the deposition scheduled Wednesday, September 29, 2021. Attendance at the

deposition will be limited to the individuals previously identified by the Parties (excluding any staff

from the court reporting service required for the administration of the deposition).     C.O.B. herein

shall mean 5:00pm CST.

            3. The Witness, the lawyer questioning the Witness, and the lawyer defending the Witness

shall state their locations on the record at the start of the deposition. The lawyer questioning the

                                                   1
           Case 1:21-cv-00796-RP Document 34 Filed 09/27/21 Page 2 of 4




Witness and the lawyer defending the Witness may be in a room with other counsel of record in the

case if they so choose or participate in the deposition from a location separate from that of other

counsel of record. Plaintiff’s agency counsel may also attend the deposition from a room or location

separate from the deponent and shall identify themselves and shall state their locations on the record

at the start of the deposition. All participants other than the Witness, the lawyer questioning the

Witness, and the lawyer defending the Witness shall mute their audio for the duration of the

deposition.

              4. The Witness, the Party taking the deposition, and the Party defending the deposition

are each responsible for having all necessary equipment and high-speed internet access in good

working order to enable the Party taking the deposition to depose the Witness by the means specified

in the deposition notice and in an environment reasonably free of distraction and interference.

However, all questioning of the Witness shall immediately cease if the Party defending the deposition

is disconnected and shall not resume until the Party defending the deposition is reconnected.

              5.    The official copies of the exhibits shall be retained by the court reporter following

the conclusion of the deposition. Nothing in this stipulation waives any Party’s right to move to have

portions of the deposition transcript or exhibits subject to a protective order entered by the Court.

              6. Defendant shall bear the fees and costs associated with the Zoom platform and the

court reporter and videographer.

              7. During the deposition, the Witness, the lawyer questioning the Witness, and the lawyer

defending the Witness must be on camera at all times that the deposition is on the record.

              8. In the event of technological difficulties or other interruptions affecting the Witness,

the court reporter, the lawyer questioning the Witness, or the lawyer defending the Witness, the

deposition shall be suspended only so long as necessary to resolve the issue. In the event of

technological difficulties or other interruptions affecting other participants (but not the Witness, the


                                                     2
           Case 1:21-cv-00796-RP Document 34 Filed 09/27/21 Page 3 of 4




court reporter, the lawyer questioning the Witness, or the lawyer defending the Witness), the

deposition will continue.

            9. During the deposition, no person may communicate with the Witness off the record

regarding the substance of the Witness’s testimony, except regarding the application of privilege. The

Witness and the defending Party’s attorneys may communicate during breaks in the deposition

through their own devices.

            10. The Parties waive administration of the oath in person and consent to this deposition

being conducted remotely. The Parties agree that nothing about this process will impair in any way

the use of this deposition as otherwise permitted by the Federal Rules of Civil Procedure.

            11. The deposition shall last no more than ninety minutes on the record. The court

reporter shall determine when the ninety minutes has elapsed. The Witness shall be permitted to

request breaks as needed.

            12. Nothing in this stipulation waives the rights of any Party to seek any appropriate relief

from the Court.



Dated: September 27, 2021                               Respectfully submitted,

                                                        BRIAN M. BOYNTON
                                                        Acting Assistant Attorney General

                                                        BRIAN D. NETTER
                                                        Deputy Assistant Attorney General

                                                        MICHAEL H. BAER
                                                        ADELE M. EL-KHOURI
                                                        Counsel to the Acting Assistant Attorney
                                                        General, Civil Division

                                                        ALEXANDER K. HAAS
                                                        Director, Federal Programs Branch

                                                        JACQUELINE COLEMAN SNEAD
                                                        Assistant Branch Director
                                                   3
           Case 1:21-cv-00796-RP Document 34 Filed 09/27/21 Page 4 of 4




                                                    DANIEL SCHWEI
                                                    Special Counsel

                                                    /s/ Lisa Newman
                                                    Lisa Newman (TX Bar No. 24107878)
                                                    James R. Powers
                                                    Joshua M. Kolsky
                                                    Kuntal Cholera
                                                    Christopher D. Dodge
                                                    Cody T. Knapp
                                                    Olivia Hussey Scott
                                                    Trial Attorneys
                                                    U.S. Department of Justice
                                                    Civil Division, Federal Programs Branch
                                                    1100 L Street, N.W.
                                                    Washington, D.C. 20005
                                                    Tel: (202) 514-5578
                                                    lisa.n.newman@usdoj.gov

                                                    Counsel for the United States



                                  CERTIFICATE OF SERVICE

       I certify that a copy of this filing was served on Texas and its counsel of record through

electronic filing in the Court’s ECF system.

                                                            /s/ Lisa Newman
                                                            Lisa Newman




                                               4
